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4                               UNITED STATES DISTRICT COURT

5                              EASTERN DISTRICT OF CALIFORNIA

6

7    UNITED STATES OF AMERICA,                     No.   2:15-cr-00039 GEB
8                       Plaintiff,
9            v.                                    DECISION ON IN LIMINE MOTIONS
10   EMILIO LARA,
11                      Defendant.
12

13                 On    February      23,    2018,    the    United    States    of   America

14   (“the government”) filed two motions in limine.                          In the first

15   motion,      the    government       moves   “to    exclude       evidence    that     some

16   uncharged       tax      returns     prepared       by     Emilio    Lara     were     not

17   fraudulent.”            Gov’t’s    Mot    Exclude       Non-Fraudulent      Tax   Returns

18   (“Mot. I”) at 1:16-17, ECF No. 59.                      The government argues that

19   “[e]vidence . . . Lara prepared certain accurate returns is not

20   relevant      to    whether    the      thirty-eight       returns    charged     in    the

21   indictment were fraudulent,” that “[e]ven if such evidence were

22   minimally relevant, it should be excluded under Rule 403,” and,

23   finally, that “even if such evidence were relevant, Rules 404(b)

24   and 405 would make it inadmissible character evidence.”                           Id. at

25   17–20.       The government moves in the second motion “to admit other

26   acts of the defendant either as relevant evidence of the crimes

27   as    charged,     as    conduct     that    is   inextricably       intertwined       with

28   those crimes, or under Federal Rule of Evidence 404(b).”                          Gov’t’s
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1    Mot Admit Evid. Other Acts (“Mot. II”) at 1:17-19, ECF No. 60.

2    The government specifies it seeks to introduce evidence of other

3    “false       statements     on     the    charged         tax   returns,”   id.    at     2:14,

4    “actions in preparing a fraudulent tax return for an undercover

5    IRS     agent,”      id.    at     4:10–11,         and    “the    defendant’s      own     tax

6    returns,” id. at 5:14.              On March 2, 2018, Defendant Emilio Lara

7    (“Defendant”) filed an opposition to both of the government’s in

8    limine motions.            See Opp’n Gov’t’s Mot.’s In Limine (“Opp’n”),

9    ECF NO. 64.

10                  The government argues in its first in limine motion

11   that “‘[a] defendant cannot establish his innocence of crime by

12   showing       that    he     did    not     commit          similar    crimes      on     other

13   occasions,’ and therefore such evidence is ‘properly excluded as

14   immaterial.’”        Mot. I at 2:9–11 (quoting Herzog v. United States,

15   226 F.2d 561, 565 (9th Cir. 1955), adhered to on reh’g, 235 F.2d

16   664 (9th Cir. 1956)).              Defendant does not explain how Herzog can

17   be disregarded.            Herzog makes clear that other good acts are not

18   relevant evidence of a lack of criminal intent, and the evidence

19   is     not    otherwise      admissible         because         “specific   acts    of     good

20   character [are] inadmissible under Rules 404(b) and 405(b) to
21   prove     [Defendant]’s          action    in    conformity         therewith.”         United

22   States v. Ellisor, 522 F.3d 1255, 1270–71 (11th Cir. 2008); cf.

23   United States v. Diaz, 961 F.2d 1417, 1419 (9th Cir. 1992) (“A

24   defendant’s propensity to engage in large scale drug dealing,

25   however,       is    not    an     admissible         character       trait”    under      Rule

26   404(a)).       Defendant cites United States v. Thomas, 134 F.3d 975,
27   979 (9th Cir. 1998), as amended on denial of reh’g (Apr. 10,

28   1998), but that case is inapposite because it is specific to an
                                                     2
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1    entrapment defense which is inapplicable in this case.

2                Defendant also argues the uncharged filings should be

3    admissible under the reasoning of United States v. Sternstein,

4    596 F.2d 528 (2d Cir. 1979).                 In Sternstein, the Second Circuit

5    noted the “familiar proposition” that “evidence of noncriminal

6    conduct to negate the inference of criminal conduct is generally

7    irrelevant.”      596 F.2d at 530.                    But the Second Circuit also

8    concluded      that      where       the         government’s         “explanation        of

9    Sternstein’s motive to falsify the returns despite his flat fee

10   was that the bogus deductions were part of a scheme to generate

11   new   business    by    gaining       inflated         returns    for      his    clients,”

12   “[r]ebuttal of this contention by demonstrating that he produced

13   no such illegal windfall for the overwhelming majority of his

14   clients was unquestionably crucial to Sternstein’s position that

15   the few false returns were innocently prepared by him.”                             Id. at

16   530–31.

17               The government argues “Sternstein does not apply to

18   [Defendant]’s     case        because   no        analysis      demonstrating        mostly

19   accurate     returns     exists,      and        it    would    not   be    feasible      to

20   interview    every      one    of    [Defendant]’s         customers        in    order   to
21   determine what proportion of returns was fraudulent.”                             Mot. I at

22   3:17–19.     The government further argues in reply to Defendant’s

23   opposition    that     the     IRS   interviewed         only    twenty-four        of    his

24   clients,    and   the    majority       of       those   interviews        gave    rise   to

25   criminal charges.         See Reply Supp. Mot. In Limine (“Reply”) at

26   2:5–25, ECF No. 66.           Further, the government argues it seeks only
27   to prove intentional violation of a known legal duty, not the

28   existence of a scheme to attract clients by inflating deductions.
                                                  3
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1    Even if the Sternstein exception applies in the Ninth Circuit,

2    the government has shown it is inapplicable to the facts of this

3    case.

4                  In the government’s second in limine motion, it moves

5    for a ruling on the admissibility of “false statements on the

6    charged tax returns,” Mot. II at 2:14, “actions in preparing a

7    fraudulent tax return for an undercover IRS agent,” id. at 4:10–

8    11, and “the defendant’s own tax returns,” id. at 5:14.

9                  The government argues that “[i]n addition to the false

10   and inflated deductions explicitly charged for each of the 38

11   counts   in    the   indictment,     the   defendant    also     inflated     other

12   categories of deductions on many of those same tax returns.”

13   Mot. II at 2:15–16.         The government seeks introduction of these

14   other falsities under the doctrine that the false information is

15   inextricably intertwined with the charged conduct or is part of a

16   single    criminal      episode.           See   Mot.      II    at   2:15–3:14.

17   Alternatively, the government argues the evidence is admissible

18   under Federal Rule of Evidence 404(b).             Id. at 3:15–4:9.

19                 The other alleged falsities, contained within the same

20   tax documents as those charged in the indictment, are part of a
21   “single criminal episode.”          Id. at 2:26 (quoting United States v.

22   Williams,      989   F.2d   1061,   1070    (9th    Cir.    1993)).      As    the

23   government argues, “[t]he policies underlying rule 404(b) are

24   inapplicable [since the offenses were] committed as part of a

25   ‘single criminal episode’ [and do not] become other acts simply

26   because the defendant ‘is indicted for less                     than all of his
27   actions.’”      Williams, 989 F.2d at 1070 (quoting United States v.

28   Soliman, 813 F.2d 277, 279 (9th Cir. 1987)).                      Therefore, the
                                            4
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1    other allegedly false entries are admissible as parts of the same

2    criminal episodes charged.

3               Next,   the   government   argues   the   admissibility     under

4    Federal Rule of Evidence 404(b) of “the testimony of, and video

5    from, an undercover IRS agent who posed as a taxpayer and asked

6    the defendant to fill out a tax return for him.”                  Mot. II at

7    4:11–13.   Under Rule 404(b):

8               evidence of prior criminal conduct may be
                admitted if (1) the evidence tends to prove a
9               material point; (2) the prior act is not too
                remote   in   time;  (3)   the  evidence   is
10              sufficient   to   support   a  finding   that
                defendant committed the other act; and (4)
11              (in cases where knowledge and intent are at
                issue) the act is similar to the offense
12              charged.
13   United States v. Mayans, 17 F.3d 1174, 1181 (9th Cir. 1994).             The

14   government addresses the four factors, arguing:

15              Evidence that it was the defendant himself
                (rather than an office clerk or some other
16              person) who created the inflated deductions
                on behalf of the undercover agent proves a
17              material point. The defendant, via pretrial
                litigation, has indicated that he might
18              proffer a defense that his fraudulent tax
                refunds were “mistakes” or “accidents” rather
19              than willful efforts to create fraudulent
                returns.    Hearing    a   recording    of the
20              interaction between the defendant and the
                undercover agent will help the jury determine
21              whether the defendant’s entries on tax
                returns were accidents. Thus, the identity of
22              the person making the false entries and the
                fact   that    those   falsehoods    match the
23              falsehoods    on   the   charged   counts  are
                probative of the material point of identity
24              and the defendant’s mens rea. Mayans, 17 F.3d
                at 1181.
25
                The return prepared for the undercover was
26              not “too remote in time.” Mayans, 17 F.3d at
                1181. The undercover operation was conducted
27              by the IRS in March 2011. The returns charged
                in the indictment were for tax years 2008
28              through 2010 (which would have been due to
                                      5
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1               the IRS between April 2009 and April 2011.)
                Thus, the undercover operation occurred after
2               some of the charged counts in the indictment
                (approximately Counts 1 through 34), but
3               before   other  counts   in   the  indictment
                (approximately Counts 35 through 38).
4
                The evidence will be more than sufficient to
5               prove that the defendant committed the other
                act: he is on a video recording made by the
6               undercover agent. Mayans, 17 F.3d at 1181.

7               Finally, the defendant’s actions in the
                undercover operation are not just similar,
8               but are nearly identical to the conduct
                charged in the indictment. Mayans, 17 F.3d at
9               1181. He took information provided to him by
                a purported taxpayer and prepared a tax
10              return with four categories of information
                that   were  false,   including  unreimbursed
11              employee     expenses      and     charitable
                contributions.
12

13   Mot. II at 4:21–5:12.

14              Defendant retorts:

15              Ignoring the fact that this claim is entirely
                conclusory, it is also not particularly
16              imaginative,   as  the   government’s   stated
                purposes for the admission of this evidence
17              follow the examples of admissible purposes in
                Rule 404(b)(2) verbatim. . . . The fact that
18              [Defendant] prepared an inaccurate return for
                a government operative provides no evidence
19              that [Defendant] prepared inaccurate returns
                for other taxpayers. It is not evidence of
20              identity, as a single, solitary transaction
                in which [Defendant] was the person who
21              prepared the return for the client is no
                evidence that he prepared the returns for all
22              clients of his business. Nor is it evidence
                of intent, as the government can point to
23              nothing in [Defendant]’s interactions with
                the undercover agent that is any more
24              indicative of criminal intent (rather than
                inadvertence) than anything that exists in
25              any of the charged returns. In any event,
                even   if    the  evidence    were   otherwise
26              admissible to show intent, it would remain
                inadmissible if its probative value were
27              substantially outweighed by its prejudicial
                impact under Rule 403. United States v.
28              Romero, 282 F.3d 683, 688 (9th Cir. 2002).
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1                The prejudicial effect of a recording of
                 [Defendant]’s interactions with an undercover
2                officer who is specifically seeking to catch
                 him in lies cannot be understated, and any
3                arguable probative value in evidence of Mr.
                 Lara preparing an additional false return in
4                an audio recording is easily outweighed by
                 that prejudice.
5
                 Quite simply, having charged 38 instances of
6                criminal conduct, the government seeks to
                 offer evidence of an uncharged 39th in order
7                to show that Mr. Lara had a propensity to
                 engage in the conduct charged. Tellingly, the
8                government offers no cases in which similar
                 evidence was admitted. This is classic
9                404(b)(1) evidence, and it is evidence that
                 should not be admitted at trial.
10

11   Opp’n at 8:11–9:13.      Defendant has made clear in his opposition

12   that he may seek to present evidence at trial that any false

13   entries were mistakes or accidents, and he has also indicated

14   that other employees may have been responsible for the work done

15   on charged returns.         The government has demonstrated that the

16   evidence it seeks to introduce is competent to show, at the very

17   least, identity, absence of mistake, and plan.

18               Defendant also argues this evidence should be excluded

19   under Federal Rule of Evidence 403.                The test is whether the

20   “probative value is substantially outweighed by a danger of . . .

21   unfair   prejudice.”        Fed.     R.    Evid.     403    (emphasis      added).

22   Defendant misstates the Rule 403 standard, arguing the issue is

23   whether “its probative value [is] substantially outweighed by its

24   prejudicial   impact.”       Opp’n    at    9:2–3.         Defendant    conflates

25   prejudice   with   unfair    prejudice      when    he     argues   that    “[t]he

26   prejudicial effect of a recording of [Defendant]’s interactions

27   with an undercover officer who is specifically seeking to catch

28   him in lies cannot be understated.”          Opp’n at 9:5–7.        The balance
                                           7
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1    under Rule 403 favors admission.

2               The   government    also   seeks   to   introduce      several   of

3    Defendant’s own income tax returns for purposes of getting into

4    evidence their attestation clauses.        See Mot. II at 5:15–21.          In

5    support of admitting the jurats from Defendant’s tax returns, the

6    government argues:

7               For   tax  years   2008  through  2010,   the
                defendant filed tax returns in his own name.
8               Those tax returns, and information about
                those returns maintained within records by
9               the IRS, are admissible under Rule 404(b) to
                prove intent, absence of mistake, lack of
10              accident, and the defendant’s mens rea. The
                government anticipates calling a witness to
11              authenticate that tax returns are accompanied
                by a jurat, which puts taxpayers on notice
12              that they have a legal obligation to provide
                truthful information on the return. Thus,
13              [Defendant]’s own tax returns, even if not
                fraudulent, are admissible to show that he
14              knew of the legal obligation to tell the
                truth on tax returns, which is evidence of
15              willfulness.
16   Mot. II at 5:15–21.     Defendant counters:

17              [The government] does not explain why the
                jurat on these returns acts as any greater
18              evidence of knowledge than the same jurat on
                the   returns    actually  charged    in   the
19              indictment, nor on any of the other returns
                that [Defendant] filed. Instead, it seems,
20              the government simply wishes to put before
                the    jury   irrelevant    and    unnecessary
21              information regarding [Defendant]’s personal
                finances . . . .
22

23   Opp’n at 10:2–8.     Defendant further argues:

24              [T]he government does not appear to have any
                evidence that [Defendant] actually personally
25              prepared his own income tax returns, rather
                than delegating that task to an employee or
26              seeking the aid of a third party to assist in
                the preparation of his own filings.
27

28   Id. at 10:9–13.    In reply, the government contends:
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1               [Defendant] . . . claims those filings are
                irrelevant because the jurat proves no more
2               than the jurat on the charged returns that he
                prepared and there is no evidence that Lara
3               personally prepared his own returns. Def.’s
                Opp. at 9-11. Because the jurats state
4               different obligations for the taxpayer and
                the preparer, Lara’s agreement to a jurat for
5               his personal returns provides additional
                evidence of his knowledge of the legal
6               obligation to tell the truth compared to the
                jurats on the returns that he prepared. As
7               the taxpayer, Lara would have been legally
                required either to sign the jurat on a paper
8               tax form or to sign the jurat on a Form 8879
                authorizing a tax preparer to e-file on his
9               behalf.   Next,  Lara   complains  that   the
                government wishes to put before the jury
10              unnecessary information about his personal
                finances. Def.’s Opp. at 10. In fact, the
11              government wishes to admit the fact of Lara’s
                tax filings only for the jurat that they
12              required, so the government has no objection
                to excluding the number related to Lara’s
13              personal finances during the government’s
                case-in-chief.
14

15   Reply at 5:4–14.       Defendant’s personal income tax returns are

16   admissible with the limitation the government has proposed.

17              For the reasons stated above, the government’s motions

18   in limine, ECF Nos. 59 & 60, are granted.

19   Dated:   March 8, 2018

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